      Case 1:20-cv-04160-JGK Document 216 Filed 08/11/23 Page 1 of 4



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

HACHETTE BOOK GROUP, INC.,
ET AL.,                                           20-cv-4160 (JGK)

                      Plaintiffs,                ORDER

           - against -

INTERNET ARCHIVE, ET AL. ,

                      Defendants.

JOHN G. KOELTL, District Judge:

     The Court has entered the parties' Consent Judgment Subject

to Appeal (the "Consent Judgment"). See ECF No. 214-1. The

parties' one disagreement with respect to the Consent Judgment is

whether "Covered Books," as defined in Paragraph E.1, should

include books that are commercially available "in any format"          (as

the Publishers argue, ECF No. 214-2) or only those commercially

available "in any electronic text format"      (as Internet Archive

argues, ECF No. 214-3). Under the Publishers' proposal, the

Consent Judgment would prohibit Internet Archive from

distributing unauthorized reproductions of any of the Publishers'

print books, including those that the Publishers have chosen not

to publish as ebooks. Under Internet Archive's proposal, the

Consent Judgment would prohibit Internet Archive only from

distributing unauthorized reproductions of the Publishers' print

books that, like the 127 Works in Suit, are also available for

electronic licensing. The Court adopts the Internet Archive's
       Case 1:20-cv-04160-JGK Document 216 Filed 08/11/23 Page 2 of 4




position. For the following reasons, the Consent Judgment defines

"Covered Book" to extend to books that are "commercially

available for sale or license in any electronic text format." 1

     "Injunctive relief should be narrowly tailored to fit

specific legal violations," Waldman Pub. Corp. v. Landoll, Inc.,

43 F.3d 775, 785 (2d Cir. 1994), and an injunction should not go

"beyond the scope of the issues tried in the case," Starter Corp.

v. Converse,   Inc., 170 F.3d 286, 300 (2d Cir. 1999). This action

concerned the unauthorized distribution of a select number of

Works in Suit, all of which were "available as authorized ebooks

that may be purchased by retail customers or licensed to

libraries." Hachette Book Grp., Inc. v. Internet Archive,               F.

Supp. 3d --, 2023 WL 2623787, at *4       (S.D.N.Y. Mar. 24, 2023).

That fact was relevant to the Court's conclusion that Internet

Archive was liable for copyright infringement. In particular, the

Court's fourth-factor analysis emphasized the "thriving ebook

licensing market for libraries" and concluded that Internet

Archive "supplants the Publishers' place in this market" by




      1 All defined words in this Order bear the definitions given to them
in Hachette Book Group, Inc. v. Internet Archive, -- F. Supp. 3d --, 2023
WL 2623787 (S.D.N.Y. Mar. 24, 2023). Unless otherwise noted, this Order
omits all alterations, citations, footnotes, and internal quotation marks
in quoted text.
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      Case 1:20-cv-04160-JGK Document 216 Filed 08/11/23 Page 3 of 4




"bring[ing] to the marketplace a competing substitute for library

ebook editions of the Works in Suit." Id. at *13.

     Given this, an injunction covering all in-print books,

including those the Publishers have not made available for

electronic licensing, risks going "beyond the scope of the issues

tried in the case." Starter Corp., 170 F.3d at 300. Fair-use

inquiries require a "case-by-case analysis," with the results

"weighed together[] in light of the purposes of copyright." Fox

News Network, LLC v. TVEyes, Inc., 883 F.3d 169, 176 (2d Cir.

2018). Because all the Works in Suit were available in authorized

ebook editions, the parties did not brief, and the Court did not

decide, whether the unavailability of digital library licensing

would affect the fair-use analysis. Internet Archive suggests

this distinction could make a difference. ECF No. 214-3 at 3

(citing Cambridge Univ. Press v. Patton, 769 F.3d 1232, 1279

(11th Cir. 2014)   (affirming district court's conclusion that

fourth factor favored fair use where "there was no evidence in

the record to show that a license for digital excerpts was

available")). The Publishers argue that the result would be the

same even for works without an authorized licensing market

because, in analyzing market harm, copyright law must respect a

rightsholder's "creative and economic choice" not to "exploit [a]

market for derivative works." ECF No. 214-2 at 3 (quoting Castle

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         Case 1:20-cv-04160-JGK Document 216 Filed 08/11/23 Page 4 of 4




Rock Ent., Inc. v. Carol Publ'g Grp., Inc., 150 F.3d 132, 145-46

(2d Cir. 1998)). What matters here, however, is that this case

did not concern copyrighted works that are not yet available in

electronic form and the parties therefore did not brief the legal

issues related to such works. Accordingly, the Court has narrowly

tailored the injunctive relief in this case to cover only

copyrighted works, like the Works in Suit, that are available

from the Publishers in electronic form.

SO ORDERED.
Dated:       New York, New York
             August 11, 2023

                                                  John G. Koeltl
                                           Uni ed States District Judge




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